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                             UNITED STATES COURT OF APPEALS
                                  FOR THE TENTH CIRCUIT

                   Entry of Appearance and Certificate of Interested Parties


    DARLENE GRIFFITH,

    Appellees/Respondents                                     Case No. 23-1135
    v.
    El PASO COUNTY, CO, BILL ELDER, in
    his individual and official capacity, CY
    GILLESPIE, ELIZABETH O’NEAL,
    ANDREW MUSTAPICK, DAWNE ELLISS,
    TIFFANY NOE AND BRANDE FORD

    Appellant/Petitioner



         In accordance with 10th Cir. R. 46.1, the undersigned attorney(s) hereby appear(s) as counsel for

El PASO COUNTY, CO, BILL ELDER, in his individual and official capacity, CY GILLESPIE,
ELIZABETH O’NEAL, ANDREW MUSTAPICK, DAWNE ELLISS, TIFFANY NOE AND
BRANDE FORD
[Party or Parties]

Appellants/Petitioners, in the subject case(s).
[Appellant/Petitioner or Appellee/Respondent]

Further, in accordance with 10th Cir. R. 46.1, the undersigned certify(ies) as follows: (Check one.)

☐        On the reverse of this form is a completed certificate of interested parties and/or attorneys not
         otherwise disclosed, who are now or have been interested in this litigation or any related
         proceeding. Specifically, counsel should not include in the certificate any attorney or party
         identified immediately above.
☒        There are no such parties, or any such parties have already been disclosed to the court.

Chris Strider, # 33919_________________
Name of Counsel

s/Chris Strider ______________________
Signature of Counsel

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                                CERTIFICATE OF SERVICE

       I hereby certify that a copy of this Entry of Appearance and Certificate of Interested
Parties was served on January 19, 2024 via email and electronic service through
PACER/ECF to the following counsel of record for Appellee.

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                                                                        Page: Page:
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Autistic Self Advocacy Network
Autistic Women and Nonbinary Network
The Judge David L. Bazelon Center for Mental Health Law
The Coelho Center for Disability Law, Policy and Innovation
Civil Rights Education and Enforcement Center
Disability Law Colorado
Disability Rights Advocates
Disability Rights Bar Association
Impact Fund
National Association for Rights Protection and Advocacy
National Disability Rights Network
Transgender Legal Defense & Education Fund

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                                     /s/ Dee Lambert
                                     Legal Office Administrator
                                     El Paso County Attorney’s Office


(See Fed. R. App. P. 25(b))




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